 1                                                                 The Honorable Ricardo S. Martinez

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 8                              UNITED STATES DISTRICT COURT

 9                            WESTERN DISTRICT OF WASHINGTON

10                                         SEATTLE DIVISION

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12      SECURITIES AND EXCHANGE                             Case No.: 2:22-cv-01388-RSM
        COMMISSION,
13
                                    Plaintiff,              REQUEST FOR ENTRY OF
14                                                          DEFAULT AGAINST
                v.                                          DEFENDANT JUSTIN
15                                                          COSTELLO
        JUSTIN COSTELLO and
16      DAVID FERRARO
                                                            NOTE ON MOTION CALENDAR
17                                  Defendants.             JANUARY 24, 2023
18

19          Plaintiff Securities and Exchange Commission (the “Commission”), hereby requests an

20   Entry of Default against defendant Justin Costello (“Costello”).

21                                        I.      RELIEF REQUESTED

22          The Commission seeks an entry of default order as set forth below against Costello.

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     REQUEST FOR ENTRY OF DEFAULT                                           Securities and Exchange Commission
     SEC V. COSTELLO ET AL.                                                         100 Pearl Street, Suite 20-100
                                                                                      New York, NY 10004-2616
                                                                                                  (212) 336-1100
 1                                         II.     STATEMENT OF FACTS

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            The Commission filed this action on September 29, 2022. See Declaration of Pascale
 3
     Guerrier (“Guerrier Decl.”) ¶ 4. On December 12, 2022, Costello was served with the Summons
 4
     and Complaint by a detective of the King County Sheriff’s Office, by personal service at the
 5
     SeaTac Federal Detention Center, 2425 S 200th Street, Seattle, Washington 98198 where he is
 6
     being detained in connection with the related criminal case pending before the Court. Id.
 7
     Costello had 21 days from the date of service to serve the Commission’s counsel with an answer
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     to the Complaint or motion under Rule 12 of the Federal Rules of Civil Procedure. Costello has
 9
     failed to appear, answer, plead or otherwise defend against the Commission’s Complaint.
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     Guerrier Decl. ¶ 6.
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                                           III. STATEMENT OF THE ISSUE
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            Whether Default should be entered against Costello, when he has failed to appear, plead
13
     or otherwise defend against the Commission’s Complaint.
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            Yes.
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                                           IV. EVIDENCE RELIED UPON
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            The Commission relies upon the Declaration of Pascale Guerrier, as well as the court
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     files and pleadings in this matter.
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                                                 V. LEGAL AUTHORITY
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            This motion is made pursuant to Local Civil Rule 55, which states in pertinent part:
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            (a) Entry of Default. Upon motion by a party noted in accordance with LCR
21          7(d)(1) and supported by affidavit or otherwise, the clerk shall enter the default of
            any party against whom a judgment for affirmative relief is sought but who has
22          failed to plead or otherwise defend. The affidavit shall specifically show that the
            defaulting party was served in a manner authorized by Fed. R. Civ. P. 4. A
23          motion for entry of default need not be served on the defaulting party….

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 1          Here, Costello was served on December 12, 2022 and failed to appear, answer, plead or

 2   otherwise defend himself against the Commission’s complaint, and the time to do so expired on

 3   January 2, 2023. Guerrier Decl. ¶¶ 4, 6. Accordingly, the Commission contends that it is

 4   entitled to entry of a default against Costello.

 5                                               VI. CONCLUSION

 6          Based on the foregoing, the Commission requests that the Court enter a default against

 7   Costello.

 8                                           VII. PROPOSED ORDER

 9          A proposed order of default granting the relief requested accompanies this motion.

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11   Dated: January 24, 2023

12                                                          Respectfully submitted,

13                                                  /s/ Pascale Guerrier
                                                    Pascale Guerrier
14                                                          Conditionally Admitted Pursuant to LCR
                                                            83.1(c)(2)
15                                                  Securities and Exchange Commission
                                                    100 Pearl Street, Suite 20-100
16                                                  New York, NY 10004-2616
                                                    (305) 982-6301
17                                                  Email: guerrierp@sec.gov
                                                    Attorney for Plaintiff Securities and
18                                                  Exchange Commission

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 1                                   CERTIFICATE OF SERVICE

 2          I hereby certify that on January 24, 2023, I electronically filed the foregoing and a

 3   proposed order with the Clerk of the Court using the CM/ECF system, and caused to be mailed

 4   by United States Postal Service First Class Mail, the foregoing and the proposed order to the

 5   following:

 6          Justin Costello
            SeaTac Federal Detention Center
 7          2425 S 200th Street
            Seattle, Washington 98198
 8
            David Ferraro
 9          926 Gilbert Street
            Radford VA 24141
10

11

12                                                        /s/ Pascale Guerrier
                                                          Pascale Guerrier
13                                                            Conditionally Admitted Pursuant to LCR
                                                              83.1(c)(2)
14                                                        Securities and Exchange Commission
                                                          100 Pearl Street, Suite 20-100
15                                                        New York, NY 10004-2616
                                                          (305) 982-6301
16                                                        Email: guerrierp@sec.gov
                                                          Attorney for Plaintiff Securities and
17                                                        Exchange Commission

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